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            9    Attorneys for Defendants

           10

           11                               UNITED STATES DISTRICT COURT

           12                               EASTERN DISTRICT OF CALIFORNIA

           13                                   SACRAMENTO DIVISION

           14    IN RE EDWARD D. JONES & CO., L.P.         CASE NO. 2:18-cv-00714-JAM-AC
                 SECURITIES LITIGATION
           15                                              REQUEST FOR JUDICIAL NOTICE AND
                                                           INCORPORATION BY REFERENCE IN
           16                                              SUPPORT OF DEFENDANTS’ MOTION TO
                                                           DISMISS PLAINTIFFS’ AMENDED
           17                                              COMPLAINT

           18                                              Hearing:
                                                           Date:      May 21, 2019
           19                                              Time:      1:30 p.m.
                                                           Place:     Courtroom 6, 14th Floor
           20                                                         501 I Street
                                                                      Sacramento, CA 95814
           21
                                                           Judge:     Hon. John A. Mendez
           22

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                                                                     REQUEST FOR JUDICIAL NOTICE AND
Gibson, Dunn &
Crutcher LLP
                                                            INCORPORATION BY REFERENCE IN SUPPORT OF
                                                                                   MOTION TO DISMISS
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            1                                          I.         INTRODUCTION

            2           As a panel of the Court of Appeals for the Ninth Circuit recently reaffirmed, in ruling on a

            3    motion to dismiss, courts may consider matters outside a complaint through (1) judicial notice under

            4    Federal Rule of Evidence 201 and (2) the doctrine of incorporation by reference. The documents

            5    attached to the concurrently filed Declaration of Alexander Mircheff (“Mircheff Declaration”) satisfy

            6    one or both of these doctrines. Defendants respectfully request that the Court consider these

            7    documents in connection with Defendants’ Motion to Dismiss Plaintiffs’ Amended Complaint.

            8                                               II.    ARGUMENT

            9           As set forth below, exhibits to the Mircheff Declaration meet the standards for consideration

           10    in connection with Defendants’ Motion to Dismiss. E.g., In re NVIDIA Corp. Sec. Litig., 768 F.3d

           11    1046, 1051 (9th Cir. 2014); see also Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 998 (9th

           12    Cir. 2018); infra chart in Section II.B. Exhibits 1-33, 37-38, 40-41, and 43 are written agreements,

           13    incorporated disclosures, and other documents that are referenced and/or quoted in the Amended

           14    Complaint (Dkt. 24). They are therefore properly considered in their entirety under the doctrine of

           15    incorporation by reference. See, e.g., Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005). Further,

           16    Exhibits 1-6 and 34-38 are publicly available documents filed with the U.S. Securities and Exchange

           17    Commission (“SEC”), which are properly the subject of judicial notice. See Fed. R. Evid. 201;

           18    Dreiling v. Am. Express Co., 458 F.3d 942, 946 n.2 (9th Cir. 2006) (“We . . . may consider

           19    documents referred to in the complaint or any matter subject to judicial notice, such as SEC filings.”).

           20    Finally, Exhibits 40-45 are other publicly available documents from sources that courts regularly

           21    judicially notice in cases such as this. See Fed. R. Evid. 201; see also, e.g., Barron v. Reich, 13 F.3d

           22    1370, 1377 (9th Cir. 1994); In re Am. Apparel, Inc. S’holder Litig., 855 F. Supp. 2d 1043, 1062 (C.D.

           23    Cal. 2012).

           24    A.     Legal Standards

           25           Facts subject to judicial notice may be considered on a motion to dismiss. E.g., NVIDIA, 768

           26    F.3d at 1051; City of Royal Oak Ret. Sys. v. Juniper Networks, Inc., 880 F. Supp. 2d 1045, 1058

           27    (N.D. Cal. 2012) (citing Lee v. City of Los Angeles, 250 F.3d 668, 689-90 (9th Cir. 2001)); Am.

           28    Apparel, Inc. S’holder Litig., 855 F. Supp. 2d at 1060. Pursuant to Federal Rule of Evidence 201, a
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            1    court may take judicial notice of relevant facts that are “not subject to reasonable dispute.” Fed. R.

            2    Evid. 201(b). This includes facts that are “generally known within the trial court’s territorial

            3    jurisdiction,” and facts that “can be accurately and readily determined from sources whose accuracy

            4    cannot reasonably be questioned.” Id.

            5           The doctrine of “incorporation by reference” also permits consideration of a document when a

            6    “plaintiff’s claim depends on [its] contents . . . even though the plaintiff does not explicitly allege the

            7    contents of that document in the complaint.” Knievel, 393 F.3d at 1076. Under such circumstances,

            8    the document becomes part of the complaint. See United States v. Ritchie, 342 F.3d 903, 908 (9th

            9    Cir. 2003).

           10           A panel of the Ninth Circuit recently examined both judicial notice and the doctrine of

           11    incorporation by reference in the context of a motion to dismiss a securities class action. See Khoja,

           12    899 F.3d at 988. The Khoja panel reaffirmed that, when properly applied, judicial notice and

           13    incorporation by reference “have roles to play at the pleading stage,” while cautioning against misuse

           14    of these mechanisms to allow parties to present “their own version of the facts.” Id. at 998-99. Courts

           15    must still take judicial notice of matters of public record where the necessary information is supplied

           16    and there is no reasonable dispute as to the contents of the documents. See id. at 1001-02; Fed. R.

           17    Evid. 201(c).

           18           With respect to incorporation by reference, the Khoja panel reiterated that incorporation by

           19    reference generally permits courts to accept the truth of matters asserted in incorporated documents,

           20    although courts should not do so “only to resolve factual disputes against the plaintiff’s well-pled

           21    allegations.” Khoja, 899 F.3d at 1014 (emphasis added). But this does not change the appropriate

           22    analysis of inadequately pleaded and conclusory allegations. After all, courts “are not required to

           23    accept as true conclusory allegations which are contradicted by documents referred to in the

           24    complaint.” Steckman v. Hart Brewing, Inc., 143 F.3d 1293, 1295-96 (9th Cir. 1998); see also

           25    Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001) (“The court need not, however,

           26    accept as true allegations that contradict matters properly subject to judicial notice or by exhibit.”), as

           27    amended by 275 F.3d 1187 (9th Cir. 2001); ScripsAmerica, Inc. v. Ironridge Glob. LLC, 119 F. Supp.

           28    3d 1213, 1230 (C.D. Cal. 2015) (same holding, relying on Steckman).
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            1            Here, Defendants do not seek to use judicial notice or incorporation by reference to dispute

            2    any particularized factual allegations in the manner the Khoja panel was concerned about. Rather,

            3    because the undisputed contents of these documents contradict Plaintiffs’ conclusory allegations, the

            4    Court should not accept those conclusory allegations as true. See Steckman, 143 F.3d at 1295-96.

            5    B.      The Exhibits to the Mircheff Declaration May Properly be Considered

            6            The following chart outlines the exhibits attached to the Mircheff Declaration, of which the

            7    Court should take judicial notice and/or consider under the separate doctrine of incorporation by

            8    reference:
                    Exhibit         Document Title                Date             Complaint         Also Subject to
            9         No.                                                          References        Judicial Notice
           10                   Form 8-K                   Jan. 9, 2017         ¶ 180              Subject to Request
                      Ex. 1                                                                        for Judicial Notice
           11                   2014 Form 10-K             Mar. 27, 2015        ¶¶ 66, 68, 128,    Subject to Request
                      Ex. 2                                                     131, 144, 168      for Judicial Notice
           12
                                2015 Form 10-K             Mar. 11, 2016        ¶¶ 66, 128, 131,   Subject to Request
           13         Ex. 3                                                     144, 168           for Judicial Notice
           14
                                2016 Form 10-K             Mar. 15, 2017        ¶¶ 58, 66, 90,     Subject to Request
           15         Ex. 4                                                     128, 131, 144,     for Judicial Notice
                                                                                168
           16

           17                   2017 Form 10-K             Mar. 15, 2018        ¶¶ 5, 31, 66,      Subject to Request
                      Ex. 5                                                     116, 119, 122,     for Judicial Notice
           18                                                                   125, 128, 131,
                                                                                144, 161, 168,
           19                                                                   188, 203
           20
                                Form 10-Q                  Nov. 10, 2016        ¶ 64               Subject to Request
                      Ex. 6                                                                        for Judicial Notice
           21
                                Anderson Advisory          Mar. 30, 2015        ¶¶ 90, 107 180,
           22         Ex. 7     Solutions Fund Models                           234
                                Brochure
           23                   Corum Advisory             Mar. 30, 2015        ¶¶ 90, 107, 180,
                      Ex. 8     Solutions Fund Models                           234
           24
                                Brochure
           25                   C. Worthington             July 30, 2014        ¶¶ 90, 107, 180,
                      Ex. 9     Advisory Solutions                              234
           26                   Fund Models Brochure
                                J. Worthington Advisory    Oct. 24, 2013        ¶¶ 90, 107, 180,
           27         Ex. 10    Solutions Fund Models                           234
           28                   Brochure

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            1             Worthington Trust         June 22, 2016     ¶¶ 107, 108,
                 Ex. 11   Guided Solutions Flex                       180, 234
            2             Account Brochure
            3             Goral Guided Solutions    Nov. 10, 2017     ¶¶ 107, 108,
                 Ex. 12   Fund Account Brochure                       180, 234
            4             August 11, 2017 Fund      Aug. 11, 2017     ¶¶ 199, 180,
                 Ex. 13   Models Brochure                             234
            5             Anderson Fund Model       June 23, 2015     ¶¶ 8, 105-108,
                 Ex. 14   Client Agreement                            180, 234
            6
                          Corum Fund Model          Apr. 27, 2015     ¶¶ 105-108,
                 Ex. 15   Client Agreement                            180, 234
            7
                          C. Worthington Fund       Mar. 16, 2015     ¶¶ 105-108,
            8    Ex. 16   Model Client Agreement                      180, 234, 254
                          J. Worthington Fund       Jan. 17, 2014     ¶¶ 105-108,
            9    Ex. 17   Model Client Agreement                      180, 234, 254
           10             Worthington Trust Flex    Undated           ¶¶ 105-108,
                 Ex. 18   Account Client Services                     180, 234, 254
           11             Agreement
                          Goral Fund Account        Dec. 2017         ¶¶ 105-108,
           12    Ex. 19   Client Services                             180, 234, 254
                          Agreement
           13
                          Worthington Trust Flex    July 25, 2016     ¶¶ 105-108,
                 Ex. 20   Account Authorization                       180, 234, 254
           14
                          and Agreement Form
           15             Goral Fund Account        Jan. 16, 2018     ¶¶ 105-108,
                 Ex. 21   Authorization and                           180, 234, 254
           16             Agreement Form
           17             Worthington Trust Flex    July 25, 2016     ¶¶ 107, 108,
                 Ex. 22   Account Client Profile                      180, 234
           18             Goral Fund Account        Jan. 8, 2018      ¶¶ 107, 108,
                 Ex. 23   Client Profile                              180, 234
           19             Anderson Advisory         June 23, 2015     ¶¶ 107, 108,
                 Ex. 24   Solutions Presale                           180, 234
           20
                          Prospectus Letter
           21             Corum Advisory            Apr. 27, 2015     ¶¶ 107, 108,
                 Ex. 25   Solutions Presale                           180, 234
           22             Prospectus Letter
                          C. Worthington            Mar. 16, 2015     ¶¶ 107, 108,
           23    Ex. 26   Advisory Solutions                          180, 234
           24             Presale Prospectus
                          Letter
           25             J. Worthington Advisory   Jan. 17, 2014     ¶¶ 107, 108,
                 Ex. 27   Solutions Presale                           180, 234
           26             Prospectus Letter
                          Worthington Trust         Undated           ¶¶ 107, 108,
           27    Ex. 28   Guided Solutions Flex                       180, 234
           28
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            1             Account Schedule of
                          Fees
            2             Goral Guided Solutions   Apr. 2017         ¶¶ 107, 108,
                 Ex. 29   Fund Account Schedule                      180, 234
            3
                          of Fees
            4             Making Good Choices      Exp. Nov. 30,     ¶¶ 108, 109,
                 Ex. 30   Brochure                 2014              124, 152, 180,
            5                                                        234
                          Making Good Choices      Exp. Nov. 30,     ¶¶ 108, 109,
            6    Ex. 31   Brochure                 2015              124, 152, 180,
            7                                                        234
                          Making Good Choices      Exp. Aug. 31,     ¶¶ 108, 109,
            8    Ex. 32   Brochure                 2016              124, 152, 180,
                                                                     234
            9             Making Good Choices      Exp. Mar. 31,     ¶¶ 108, 109,
                 Ex. 33   Brochure                 2018              124, 152, 180,
           10
                                                                     234
           11             AIM Investment           May 31, 2018                        Subject to Request
                 Ex. 34   Securities Funds’ Form                                       for Judicial Notice
           12             N-CSR
                          AIM Tax-Exempt           May 31, 2018                        Subject to Request
           13    Ex. 35   Funds’ Form N-CSR                                            for Judicial Notice
           14             American Funds Global    Jan. 23, 2018                       Subject to Request
                 Ex. 36   Balanced Fund’s Form                                         for Judicial Notice
           15             N-CSR
                          Bridge Builder           Oct. 24, 2013     Incorporated by   Subject to Request
           16    Ex. 37   Prospectus                                 Reference in      for Judicial Notice
           17                                                        Brochures,
                                                                     Client Services
           18                                                        Agreements,
                                                                     Client
           19                                                        Agreements,
                                                                     Presale
           20                                                        Prospectus
           21                                                        Letters, and
                                                                     Authorization
           22                                                        and Agreement
                                                                     Forms
           23                                                        See also ¶ 90
                          Bridge Builder           Oct. 27, 2014     Incorporated by   Subject to Request
           24    Ex. 38   Prospectus                                 Reference in      for Judicial Notice
           25                                                        Brochures,
                                                                     Client Services
           26                                                        Agreements,
                                                                     Client
           27                                                        Agreements,
                                                                     Presale
           28
                                                                     Prospectus
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            1                                                                   Letters, and
                                                                                Authorization
            2                                                                   and Agreement
            3                                                                   Forms
                                                                                See also ¶ 90
            4                   Bridge Builder Press       Sept. 3, 2013        See ¶ 234          Subject to Request
                    Ex. 40      Release                                                            for Judicial Notice
            5                   Michael Wursthorn,         Aug. 17, 2016        ¶¶ 62, 110         Subject to Request
                    Ex. 41      Edward Jones Shakes                                                for Judicial Notice
            6
                                Up Retirement Offerings
            7                   Ahead of Fiduciary
                                Rule, Wall St. J.
            8                   Michael Wursthorn,         Oct. 6, 2016         n/a                Subject to Request
                    Ex. 42      Merrill Lynch to End                                               for Judicial Notice
            9                   Commission-Based
                                Options for Retirement
           10
                                Savers, Wall St. J.
           11                   Edward D. Jones &          July 21, 2015        ¶ 49               Subject to Request
                    Ex. 43      Co.’s Letter Comments                                              for Judicial Notice
           12                   to Department of Labor
                                re: Proposed Conflict of
           13                   Interest Rule
           14                   Edward D. Jones &          Apr. 17, 2017        n/a                Subject to Request
                    Ex. 44      Co.’s Letter Comments                                              for Judicial Notice
           15                   to Department of Labor
                                re: Definition of the
           16                   Term “Fiduciary”
                                Dalas L. Gundersen’s       Undated              n/a                Subject to Request
           17       Ex. 45      FINRA BrokerCheck                                                  for Judicial Notice
           18                   Report

           19           1.      Disclosures, Agreements, and Other Documents Relating to Plaintiffs

           20           Defendants request that the Court consider Exhibits 1-33, 37-38, 40-41, and 43, which are
           21    referenced and/or quoted in the Amended Complaint. These exhibits include documents related to
           22    Plaintiffs’ accounts with Edward Jones that are the subject of this litigation—including their signed
           23    account agreements and disclosures provided to them in connection with the openings of their
           24    accounts—as well as other public statements by Edward Jones cited in the Amended Complaint. It is
           25    well established that “documents whose contents are alleged in a complaint and whose authenticity
           26    no party questions, but which are not physically attached to the pleading, may be considered in ruling
           27    on a Rule 12(b)(6) motion to dismiss.” Branch v. Tunnell, 14 F.3d 449, 454 (9th Cir. 1994),
           28    overruled on other grounds by Galbraith v. Cty. of Santa Clara, 307 F.3d 1119 (9th Cir. 2002); see
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            1    also Ritchie, 342 F.3d at 908 (explaining that a document not attached to the complaint, but

            2    referenced therein, may be considered on defendant’s motion to dismiss). Thus, a document is

            3    properly incorporated where it is referred to extensively in the complaint or forms the basis of the

            4    plaintiff’s claim. Khoja, 899 F.3d at 1002. Furthermore, the full text of documents referenced or

            5    cited in a complaint may be considered even though the complaint quotes only portions of those

            6    documents. See Cooper v. Pickett, 137 F.3d 616, 623 (9th Cir. 1997).

            7           Here, Exhibits 1-33, 37-38, 40-41, and 43 are referenced extensively in Plaintiffs’ Amended

            8    Complaint, and also underlie Plaintiffs’ claims for relief, so the Defendants accordingly request that

            9    the Court incorporate them by reference. See supra chart in Section II.B. These exhibits are not

           10    submitted to “create a defense,” but rather meet the precise purpose of the doctrine: “[P]revent[ing]

           11    the plaintiffs from selecting only portions of documents that support their claims, while omitting

           12    portions of those very documents that weaken—or doom—their claims.” Khoja, 899 F.3d at 1002,

           13    1003 (citing Parrino v. FHP, Inc., 146 F.3d 699, 706 (9th Cir. 1998), superseded by statute on other

           14    grounds as recognized in Abrego Abrego v. Dow Chem. Co., 443 F.3d 676, 681-82 (9th Cir. 2006)).

           15           Indeed, Plaintiffs refer to only portions of Exhibits 1-33, 37-38, 40-41, and 43 to argue

           16    alleged misrepresentations, but fail to reference other portions of the documents that contradict their

           17    allegations. Defendants’ purpose in seeking to incorporate these exhibits is not to contradict well-

           18    pleaded allegations, but instead to show that Plaintiffs’ conclusory allegations about Defendants’

           19    statements are not well-pleaded at all. The undisputed contents of these exhibits underscore that

           20    Plaintiffs’ allegations are conclusory and actually contradicted by the documents to which they refer,

           21    and thus, are insufficient as a matter of law. See Steckman, 143 F.3d at 1295-96.

           22           Accordingly, because they form the basis of the Plaintiffs’ claims and are explicitly

           23    referenced and/or quoted in the Amended Complaint, it is appropriate for the Court to consider

           24    Exhibits 1-33, 37-38, 40-41, and 43 based on the doctrine of incorporation by reference. See supra

           25    chart in Section II.B.

           26           2.      Materials Filed with the SEC

           27           Defendants request that the Court take judicial notice of Exhibits 1-6 and 34-38, all filed with

           28    the SEC and publicly available. It is well established that judicial notice of such documents is proper.
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            1    See, e.g., Dreiling, 458 F.3d at 946 n.2 (“We . . . may consider documents referred to in the complaint

            2    or any matter subject to judicial notice, such as SEC filings.”). Exhibits 1-6 and 34-38 are Forms 10-

            3    K, a Form 10-Q, a Form 8-K, Forms N-CSR, and Forms N-1A that were filed with the SEC and are

            4    publicly available. Accordingly, they are judicially noticeable. See, e.g., Am. Apparel, Inc. S’holder

            5    Litig., 855 F. Supp. 2d at 1062 (taking judicial notice of defendant’s Form 10-K and 10-Q); In re

            6    Countrywide Fin. Corp. Sec. Litig., 588 F. Supp. 2d 1132, 1160 (C.D. Cal. 2008) (taking judicial

            7    notice of defendants’ prospectus filed with the SEC); Glenbrook Capital Ltd. P’ship v. Kuo, 525 F.

            8    Supp. 2d 1130, 1137 (N.D. Cal. 2007) (taking judicial notice of defendant’s Form 8-K). Thus, the

            9    Court should take judicial notice of Exhibits 1-6 and 34-38.1

           10            Moreover, Exhibits 1-6 and 37-38 are referenced explicitly and/or quoted in the Amended

           11    Complaint, see supra chart in Section II.B, and thus additionally should be considered under the

           12    doctrine of incorporation by reference. See supra Section II.B.1.

           13            3.      Press Releases and News Articles

           14            Defendants request that the Court take judicial notice of Exhibits 40-42, which are press

           15    releases and news articles that include information referenced in Plaintiffs’ Amended Complaint.

           16    Taking judicial notice of press releases and news articles is a long-established practice in securities

           17    cases in order to show what statements were made to the public. In re Kalobios Pharm., Inc. Sec.

           18    Litig., 258 F. Supp. 3d 999, 1003 (N.D. Cal. 2017) (citing Am. Apparel, Inc. S’holder Litig., 855 F.

           19    Supp. 2d at 1062); ScripsAmerica, Inc., 119 F. Supp. 3d at 1231 (citing Heliotrope Gen., Inc. v. Ford

           20    Motor Co., 189 F.3d 971, 980 n.18 (9th Cir. 1999)). Here, Exhibits 40-42 are public press releases

           21    and news articles regarding Defendants’ commentary about the effects of the Department of Labor’s

           22

           23

           24     1
                      Exhibit 39 shows that Plaintiff Janet Goral invested in “covered” securities (see Ex. 36) and is
           25         submitted in connection with Defendants’ argument for dismissal of the state law claims (Counts
                      VI and VII) under the Securities Litigation Uniform Standards Act of 1998 (“SLUSA”). SLUSA
           26         preclusion raises an issue of subject-matter jurisdiction, and therefore consideration of Exhibit 39
                      is appropriate as well. See Northstar Fin. Advisors, Inc. v. Schwab Investments, 904 F.3d 821,
           27         834-35 (9th Cir. 2018); Kenneth Rothschild Tr. v. Morgan Stanley Dean Witter, 199 F. Supp. 2d
                      993, 999-1000, 1004 & n.19 (C.D. Cal. 2002) (granting motion to dismiss where securities were
           28         “covered” under SLUSA and noting that “to determine whether it has subject-matter jurisdiction,
                      a court may consider and weigh extrinsic evidence”).
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            1    (“DOL”) Fiduciary Rule, and thus, they are judicially noticeable. Accordingly, this Court should

            2    take judicial notice of Exhibits 40-42.

            3             Moreover, Exhibits 40 and 41 are referenced explicitly and/or quoted in the Amended

            4    Complaint, see supra chart in Section II.B, and thus additionally should be considered as

            5    incorporated by reference. See supra Section II.B.1.

            6             4.     Edward Jones’s Comments to the Department of Labor

            7             Defendants request that the Court take notice of Exhibits 43 and 44, which are letters from

            8    Edward Jones to the DOL commenting on the DOL’s Fiduciary Rule. These documents are capable

            9    of accurate and ready determination by resort to sources whose accuracy cannot reasonably be

           10    questioned. Fed. R. Evid. 201(b). In general, courts have agreed that “records and reports of

           11    administrative bodies . . . clearly constitute such materials [capable of judicial notice].” Barron, 13

           12    F.3d at 1377. Comments to administrative bodies, such as Defendant Edward Jones’s comments in

           13    response to the new Fiduciary Rule, have been judicially noticed by courts and taken as true

           14    reflections that the statements therein were made. See Brantley v. NBC Universal, Inc., 2008 WL

           15    11338585, at *2 n.2 (C.D. Cal. Mar. 10, 2008) (citing Barron, 13 F.3d at 1377). Accordingly, the

           16    Court should take judicial notice of Exhibits 43 and 44.

           17             Moreover, Exhibit 43 is referenced explicitly and/or quoted in the Amended Complaint, see

           18    supra chart in Section II.B, and thus additionally should be considered by incorporation by reference.

           19    See supra Section II.B.1.

           20             5.     FINRA BrokerCheck Report

           21             Finally, Defendants request that the Court consider Exhibit 45, a “BrokerCheck Report” from

           22    the Financial Industry Regulation Authority (“FINRA”). BrokerCheck Reports, such as Exhibit 45,

           23    are proper subjects of judicial notice, as they are capable of accurate and ready determination by

           24    resort to sources whose accuracy cannot reasonably be questioned. Fed. R. Evid. 201(b); Freeney v.

           25    Bank of Am. Corp., 2015 WL 12535021 at *18 (C.D. Cal. Nov. 19, 2015) (citing Wilson v. Bodnar,

           26    750 F. Supp. 2d 186, 188 n.5 (D. Me. 2010)) (taking judicial notice of a FINRA BrokerCheck

           27    Report). Accordingly, the Court should consider the FINRA BrokerCheck Report attached as Exhibit

           28    45.
                                                                    10            REQUEST FOR JUDICIAL NOTICE AND
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                                                                         INCORPORATION BY REFERENCE IN SUPPORT OF
                                                                                                MOTION TO DISMISS
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            1                                          III.   CONCLUSION

            2           For the foregoing reasons, Defendants respectfully request that the Court consider the

            3    foregoing exhibits to the Mircheff Declaration in conjunction with the Motion to Dismiss.

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            5    Dated: November 21, 2018                          By:/s/ Meryl L. Young
                                                                    MERYL L. YOUNG
            6                                                       GIBSON, DUNN & CRUTCHER LLP
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                                                                  11            REQUEST FOR JUDICIAL NOTICE AND
Gibson, Dunn &
Crutcher LLP
                                                                       INCORPORATION BY REFERENCE IN SUPPORT OF
                                                                                              MOTION TO DISMISS
